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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                               SPARTANBURG DIVISION

WESTCHESTER FIRE INSURANCE             )     Case No. 7:11-cv-00672-HMH
COMPANY,                               )
                                       )
                   Plaintiff,          )       DEFENDANT’S RESPONSE IN
                                       )      OPPOSITION TO PLAINTIFF’S
v.                                     )          MOTION FOR PARTIAL
                                       )          SUMMARY JUDGMENT
SAMUEL F. EAKIN,                       )
                                       )
                   Defendant.          )
____________________________________)
      Defendant, Samuel F. Eakin (“Mr. Eakin”), submits this response opposing Plaintiff

Westchester Fire Insurance Company’s (“Westchester”) Motion for Partial Summary Judgment

on its indemnification claim.

                                STATEMENT OF UNDISPUTED FACTS

       Westchester is in the business of providing surety bonds to contractors and other

companies, and provided a performance bond as surety to Sanders Brothers, Inc.1 (“Sanders

Brothers” or “Sanders Bros.”), as principal, to secure the obligation of Sanders Brothers to

perform construction work as required under its subcontract with Kellogg Brown & Root

Services, Inc. (“KBR”). (Compl. Ex. A). The subcontract performance bond at issue named

KBR as obligee and Sanders Brothers, Inc. as principal, in the penal sum of $ 1,186,877.10, for

performance of a subcontract at Cape Canaveral Air Force Station in Florida. (Id. Ex. A). In

consideration for Westchester’s issuance of the surety bond, as principals, Sanders Brothers,

Sanders Brothers Holdings, Inc., Pro Serv Sanders, Inc., and Alabama Southeast Mechanical –



1
 On June 21, 2010, a South Carolina circuit court issued an order placing the property of Sanders
Brothers and related entities in receivership; Lawrence T. Englert is the duly appointed receiver
of Sanders Brothers per the court’s order. A copy of the Order Appointing a Receiver is attached
at Exhibit 1.
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Sanders, Inc. entered into an Agreement of Indemnity in favor of Westchester. (Id. Ex. B). The

indemnity agreement is a form, boilerplate document created by Westchester, which Mr. Eakin

signed individually and as an officer of Sanders Brothers.2 (Id. Ex. B, at 3). Therein, the

indemnitors agreed to “exonerate, indemnify, and keep indemnified [Westchester] from and

against any and all liability for losses and/or expenses . . . and from and against any and all such

losses and/or expenses which [Westchester] may sustain and incur” in connection with the

subcontract performance bond. (Compl. Ex. B, at 1).

       A dispute arose when KBR claimed that Sanders Brothers had performed defective work

under the subcontract, and the dispute was submitted to arbitrations, where KBR was awarded

$985,942.37.    (Compl. ¶ 11).      Thereafter, KBR sought enforcement of the subcontract

performance bond and demanded that Westchester make payment.               (Compl. ¶ 14, Ex. C).

Westchester paid $1,082,053.30 in satisfaction of KBR’s claim under the subcontract

performance bond on August 11, 2010. (Compl. ¶ 17).

       On July 12, 2010, before making payment to satisfy KBR’s claim, counsel for

Westchester sent a demand letter addressed to Mr. Eakin individually and as an officer of

Sanders Bros., Sanders Bros. Holdings, Inc., Pro Serv Sanders, Inc., and Alabama Southeast

Mechanical-Sanders, Inc.,3 in which Westchester demanded indemnification from KBR’s claim

and the $985,942.37 arbitration award. (Compl. Ex. D). The letter also demanded that the

indemnitors immediately post cash collateral on the claim. (Id. Ex. D).




2
  Notwithstanding that Sanders Brothers and others are indemnitors under the agreement,
Westchester has never named any entity or individual other than Mr. Eakin as a party defendant
herein. (Compl. Ex. B, at 1).
3
  The letter was also addressed to Mr. G. Jerome Ducote, Jr., who also individually signed the
indemnity agreement with Westchester. (Compl. Ex. D).
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       On March 21, 2011, Westchester initiated the instant action under the indemnity

agreement, naming Mr. Eakin as the sole defendant and seeking to recover the total amount of

Westchester’s payment of the KBR bond claim. (Compl. ¶ 2).

                                 MATERIAL FACTS IN DISPUTE

       When Westchester sent its demand letter on July 12, 2010, the property of Sanders

Brothers and related entities had been placed in a receivership per order of the South Carolina

circuit court, such that only the duly-appointed receiver had the authority to make distributions

on behalf of the corporate indemnitors. (Ex. 1 (Order Appointing a Receiver)). Moreover, in

October 2010, the receiver sold Pro Serv Sanders, Inc. to an outside buyer, which generated

monies close to the amount demanded by Westchester for payment of KBR’s bond claim. (See

Receiver’s Fourth Report for the Period August 28, 2010 Through October 1, 2010, attached at

Exhibit 2; Receiver’s Fifth Report for the Period October 2 Through October 29, 2010, attached

at Exhibit 3).

       Although Westchester knew that Sanders Brothers had been placed in receivership, and

although Westchester should and could have sought indemnification from Sanders Brothers as

the primary obligor by also sending its demand letter to the receiver, Westchester nonetheless

proceeded to seek indemnification from Mr. Eakin individually. (See Compl. Ex. D). Further,

there is no evidence that Westchester ever sent a request for payment to the receiver, who, unlike

Mr. Eakin, had exclusive access to the accounts and property of Sanders Brothers and related

entities and who had the sole authority to make payments on their behalf. (See Ex. 1, at ¶ 3

(“Defendants (their agents, representatives and employees) are restrained from disposing of,

transferring, conveying, or otherwise encumbering the Property or books, files, records and




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accounts relating to the Property, and they and all other parties having property in their

possession or under their control are hereby directed to deliver the same to the said Receiver.”)).

                                      LAW AND ARGUMENT

       Summary judgment is appropriate where the evidence shows that “there is no genuine

issue as to any material fact and that the moving party is entitled to a judgment as a matter of

law.” Fed. R. Civ. P. 56(c); see also Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 256 (1986).

When ruling on a motion for summary judgment, the courts are to construe the facts in the light

most favorable to the non-moving party and resolve all ambiguities and draw all reasonable

inferences against the moving party. Anderson, 477 U.S. at 255. Here, there is a genuine

dispute of material fact regarding Westchester’s conduct in failing to seek payment from any of

the corporate entities by requesting the same of the duly-appointed receiver. (See Compl. Ex.

D). In this regard, Westchester neither acted in good faith nor in a commercially reasonable

manner, and summary judgment is therefore unwarranted.

       In the construction context, an indemnity agreement serves to establish liability at the

time of contract formation such that the parties can reasonably anticipate their obligations, insure

against loss, and accurately forecast their costs related to a venture. See Rankin v. Smith, 147

S.E.2d 649, 652 (Ga. Ct. App. 1966). In other words, an indemnity agreement shifts liability

from the legally responsible party to another party, the indemnitor, which, for a consideration,

promises to indemnify and save harmless the indemnitee against liability of the indemnitee to a

third person or against loss resulting from such liability.” Thomasson v. Pineco, Inc., 328 S.E.2d

410, 411 (Ga. Ct. App. 1985 (citing Nat’l Bank of Monroe v. Wright, 48 S.E.2d 306, 308 (Ga.

Ct. App. 1948)). In construing an indemnity agreement, a court reads it as it would any other

contract. See, e.g., Associated Indem. Corp. v. CAT Contracting, Inc., 964 S.W.2d 276, 284



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(Tex. 1998) (stating that an indemnity agreement is to be construed “under the normal rules of

contract construction”). “[The] primary goal, of course, is to determine the parties’ intent.” Id.;

see In re Southco, Inc., 168 B.R. 95, 99 (Bankr. D.S.C. 1994).

       Under South Carolina law, courts have allowed “a lender to by-pass the primary obligee

and proceed initially against the guarantor.” Smith v. Mandel, 66 F.R.D. 405, 407 (D.S.C.

1975). The South Carolina Supreme Court has also interpreted a guarantee agreement in such a

way as to leave a guarantor largely at the mercy of a creditor. See Citizens & S. Nat’l Bank of

SC v. Lanford, 313 S.C. 540, 543–44, 443 S.E.2d 549, 550–51 (1994). However, since 2001,

South Carolina has adopted the revised Article 9 of the Uniform Commercial Code (UCC), along

with revised Articles 3 and 4, with the effect that some defenses previously unavailable to a

guarantor or secondary obligor may now offer some protection. See Richard R. Gleissner, In

Defense of the Guarantor, 22 S. CAROLINA LAWYER 18, 20 (Nov. 2010). For example, the

Restatement (Third) of Suretyship & Guaranty provides a number of general defenses, some of

which are considered “fundamental to the guaranty relationship.” Id. at 21. Additionally, the

UCC includes a requirement of “commercial reasonableness.” Id. at 20 (quoting S.C. Code Ann.

§ 36-9-610).

       Here, although the event of Sanders Brothers’ default under the subcontract gave rise to

Westchester’s ability to seek indemnification under the indemnity agreement, by failing to seek

indemnification from Sanders Brothers as a corporate entity, Westchester failed to mitigate its

damages and did not act in a commercially reasonable or good faith manner. Although in

receivership, Sanders Brothers would have been financially able to perform its obligations as

primary obligor and principal under the indemnity agreement. At the time that Westchester first

sought indemnification under the agreement, the receiver had just recently been appointed and,


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shortly thereafter, the receiver proceeded to sell Pro Serv Sanders, Inc., which generated actual

substantial income to the receivership. (See Ex. 2; Ex. 3). Because Westchester’s demand letter

was not sent until July 12, 2010, it was sent after the receivership had been established, and,

therefore, Mr. Eakin and other corporate managers had no access to any of the accounts or assets

of Sanders Brothers and related entities.        As such, a proper request for payment on the

subcontract performance bond claim should have been addressed and sent to the receiver, but

there is no evidence that Westchester ever made such a request. It would have been entirely

reasonable for Westchester to seek indemnification from the receiver, and, had it done so, at a

reasonable expense and by reasonable efforts Westchester could have obtained nearly the full

amount that it now seeks against Mr. Eakin.


                                             CONCLUSION

        For all the foregoing reasons, Defendant respectfully submits that Plaintiff has not shown

the absence of a genuine issue of material fact and partial summary judgment should not be

granted on the issue of liability.


                                                Respectfully submitted,


                                                HARRISON, WHITE, SMITH & COGGINS, P.C.

                                                 s/Donald C. Coggins, Jr.______________
                                                Donald C. Coggins, Jr. (Fed. ID No.: 198)
                                                178 West Main Street
                                                Post Office Box 3547 (29304)
                                                Spartanburg, South Carolina 29306
                                                (864) 585-5100
                                                dcoggins@spartanlaw.com
                                                Attorney for Defendant Samuel F. Eakin

May 24, 2012
Spartanburg, South Carolina

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